Case 4:22-cv-11009-FKB-DRG ECF No. 157-7, PageID.4965 Filed 06/20/25 Page 1 of 3




                   EXHIBIT 6
Case 4:22-cv-11009-FKB-DRG ECF No. 157-7, PageID.4966 Filed 06/20/25 Page 2 of 3




                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

  ESTATE OF GEORGE BERNARD              Case No. 4:22-cv-11009
  WORRELL, JR.,
                                        District Judge F. Kay Behm
               Plaintiff,
                                        Magistrate Judge David R.
                                        Grand
  v.

  THANG, INC., and GEORGE
  CLINTON,

              Defendants.

 _________________________________________________________________/


                        Rebuttal Report of Alan Elliott

                               January 6, 2025
Case 4:22-cv-11009-FKB-DRG ECF No. 157-7, PageID.4967 Filed 06/20/25 Page 3 of 3




       themselves. And in the case of Parliament-Funkadelic, George
       Clinton is undeniably the 'artist,' the driving force behind the music.

       52. It's also crucial to recognize that the 'artist' role extends
       beyond the creative realm. As the years have passed, George Clinton
       has borne sole responsibility for the business decisions and legal
       obligations of Parliament-Funkadelic. From recapturing master
       recordings to navigating lawsuits, these burdens fall squarely on
       Clinton's shoulders. This reinforces the distinction between the
       'artist' who owns and controls the creative vision and the 'sidemen'
       who contribute their talents within that framework.



                        ADDITIONAL DISCLOSURES

       53. In the previous 10 years, I have authored the following
       publications:

       Remembering Tom Luddy: Benevolent Wizard Of The Telluride Film
       Festival, Collaborator With Agnès Varda And Comrade In Arms By
       Alan Elliott, https://deadline.com/2023/02/tom-luddy-telluride-film-
       festival-1235265325/.

       I also created the 2018 film “Amazing Grace”.

       54. In the previous 4 years, I have not testified as an expert at trial
       or by deposition in any other cases.

       55. I am providing this testimony voluntarily. I believe the work of
       George Clinton is important to the culture and history of mankind.
       His transformative vision and execution of that vision is important to
       the world and that is why I have become a devotee and expert on
       George Clinton.


 Signature on following page




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